Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 1 of 27 PageID #: 1



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


TIMOTHY SCHERMAN,

Plaintiff,                                           Case No. 19-cv-01866

v.
                                                     Jury trial demanded
INDIANA UNIVERSITY and
GWEN GIALLONARDO,

                      Defendants.



                                        COMPLAINT

        Plaintiff, TIMOTHY SCHERMAN (“Plaintiff”), by and through his attorneys, alleges the

following against Defendants INDIANA UNIVERSITY (“IU”) and GWEN GIALLONARDO:

                                         OVERVIEW

        1.      On November 13, 2018, Plaintiff, a 21-year old junior at IU, was sentenced to a

two-year suspension for allegedly having sex with Defendant Giallonardo, a young woman with

whom he had a prior sexual relationship, while she was intoxicated. IU’s decision to suspend

Plaintiff was based on the conclusion of the Hearing Panel (“the Panel”) that he “knew or

reasonably should have known she was incapacitated” during a sexual encounter after a Halloween

party on October 28, 2017 (“the Decision”).

        2.      The Panel’s determination that Defendant Giallonardo was “incapacitated” was

based, in part, on a finding that she had experienced an “alcohol induced blackout” or “loss of

consciousness” on the night in question. This finding was based solely on Defendant Giallonardo’s

fabricated testimony, which was not supported by a single witness, and contradicted by most.


                                               1
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 2 of 27 PageID #: 2



Defendant Giallonardo offered no evidence of any “loss of consciousness,” nor did any of the more

than a dozen witnesses who attended the party, including numerous “sober monitors,” observe any

behavior indicating that she was overly intoxicated.

       3.       The evidence before the Panel also did not establish by a preponderance of the

evidence that Plaintiff was “the individual initiating sexual activity” and that he “knew or should

have known of [her alleged] incapacitation,” both of which are required to prove a violation of the

University’s Sexual Misconduct Policy. To the contrary, the evidence before the Panel was

undisputed that, after pursuing Plaintiff at the party, Defendant Giallonardo actively participated

in the sex act, including positioning herself on top of him and calling out repeatedly for him to

“fuck” her – behavior that Defendant Giallonardo admitted was consistent with their

acknowledged “history of ‘drunkenly hooking up.’” Such behavior directly refutes that Plaintiff

was “the individual initiating sexual activity,” and certainly could not have put him on notice that

she was an unwilling or unable participant.

       4.       Defendant Giallonardo did not deny Plaintiff’s recollection of their sexual

encounter. Indeed, she admitted at the hearing that it was “possible.” She also admitted, and others

confirmed, that she was less intoxicated on the night in question than on previous occasions. The

Panel’s failure to consider this critical evidence anywhere in its Decision affected the outcome of

the case.

       5.       Defendant Giallonardo’s entire accusation rested on her claim that she simply

could not remember what happened. Her failure to remember the evening’s events, however,

failed to prove, by a preponderance of the evidence, as it was required to, that Plaintiff “knew or

should have known of [her alleged] incapacitation,” as required to prove a violation of the

University’s Sexual Misconduct Policy.



                                                 2
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 3 of 27 PageID #: 3



          6.   IU disregarded this and all other exculpatory evidence supporting Plaintiff’s

vehement denials of wrongful conduct and accepted Defendant Giallonardo’s unsupported

accusations for no reason other than the fact that Plaintiff is male and Defendant Giallonardo is

female.

          7.     For the Panel to have imposed such a harsh sanction against Plaintiff based on

little more than Defendant Giallonardo’s lack of memory and mere speculation about what “might”

have happened, is grossly disproportionate and a miscarriage of justice, in violation of Title IX of

the Educational Amendments of 1972, 20 U.S.C. §1681, et seq. (“Title IX”), the due process

protections of the Fifth and Fourteenth Amendments to the United States Constitution, and IU’s

contractual obligations to Plaintiff.

          8.   Defendant Giallonardo’s allegations against Plaintiff, including that he gave her a

“roofie” (a date rape drug), which was acknowledged by the Panel to be untrue, that Plaintiff had

inflicted “bruises” on her during their sexual encounter, which she later recanted, and that she had

been sexual assaulted while unconscious, which was contradicted by the evidence, were

outrageous, false and defamatory. Defendant Giallonardo’s motivation for contriving such a story

may have been that she felt embarrassed that Plaintiff’s interest in her was only sexual, as evident

from her admission at the hearing that she was “ashamed” about what had happened and upset that

Plaintiff appeared to “laugh off” their encounter the night before.

          9.   As a result of IU’s unlawful conduct and Defendant Giallonardo’s false and

defamatory allegations, Plaintiff’s life has been shattered. Not only has his education been

disrupted for the next two years at IU, but he is unable to transfer to another college to complete

his education because the suspension has been recorded on his academic transcript. Even if he

were to try to return to IU after the suspension period, the Panel’s Decision makes clear that



                                                 3
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 4 of 27 PageID #: 4



reinstatement is not guaranteed. The net effect is to deny him the right to obtain a college degree,

which has enormous consequences for his future employability and economic opportunities.

       10.       In addition to the educational and economic impact of Defendants’ unlawful

actions, Plaintiff has suffered grievous emotional damage. His reputation has been destroyed, he

has lost his entire college network of friends, and he is rightfully hopeless about his future. As a

result of the stress and humiliation inflicted on him, Plaintiff continues to require intensive

treatment for extreme depression, anxiety, emotional distress and suicidal ideation.


                                                  PARTIES

       11.      Plaintiff, a 21-year old male, is a citizen of the State of Illinois. In the fall of 2018,

Plaintiff was a junior at IU majoring in Computer Science and a student in good standing. Plaintiff

transferred to IU from Rollins College in January 2017.

       12.      Defendant IU, the flagship institution of the Indiana University system and its

largest university, is an Indiana not-for-profit corporation with its principal place of business in

Bloomington, Indiana.

       13.      Defendant Giallonardo, female, is a citizen of the State of Pennsylvania. On

information and belief, she graduated from IU in May 2019.

                                      JURISDICTION AND VENUE

       14.      This action arises under Title IX, the Fifth and Fourteenth Amendments to the

United States Constitution, and Indiana common law.

       15.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 28

U.S.C. §1343.

       16.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. §1367.

                                                    4
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 5 of 27 PageID #: 5



        17.     Venue is proper pursuant to 28 U.S.C. §1391 because the events giving rise to this

claim occurred in this judicial district.

                                   FACTUAL ALLEGATIONS

Sexual Encounters Between Plaintiff and Defendant Giallonardo

        18.     Plaintiff and Defendant Giallonardo first met in Spring 2017 at a party hosted by

Plaintiff’s fraternity, Phi Lambda Pi. They began a consensual, casual sexual relationship in

Summer 2017 when they were both living in Chicago. However, once they returned to the IU

campus in Fall 2017, they fell out of touch as Plaintiff was not interested in pursuing a more serious

relationship.

        19.     Defendant Giallonardo was frequently under the influence of drugs or alcohol

during their sexual encounters, which Defendant Giallonardo has described as their “history of

drunkenly hooking up.”

        20.     On October 28, 2017, Defendant Giallonardo attended a Halloween-themed mixer

between Plaintiff’s fraternity and Defendant Giallonardo’s sorority, Delta Phi Epsilon, at the Phi

Lambda Pi house. Approximately one hour before going to the party, she drank one shot of vodka

and smoked a small amount of marijuana, which she claimed was a typical amount for her to

consume.

        21.     Defendant Giallonardo arrived at the fraternity party at approximately 11p.m. and

freely socialized with Plaintiff throughout the party, including talking and dancing with him. At

some point during the party, Plaintiff and Defendant Giallonardo stepped outside the fraternity

house so they could talk where it was quieter. Once outside, they began hugging and kissing as

Defendant Giallonardo rubbed Plaintiff’s groin and penis over his clothes. After a few minutes,




                                                  5
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 6 of 27 PageID #: 6



they agreed to go back to Plaintiff’s apartment which Defendant Giallonardo suggested because

she knew he did not have a roommate.

       22.     When Plaintiff and Defendant Giallonardo arrived at his apartment, they went into

Plaintiff’s bedroom, took off their clothes, and began to have sexual intercourse. At various points,

Defendant Giallonardo straddled Plaintiff who lay beneath her, as she screamed “Fuck me!” She

also attempted to mount him to resume the sex act as he started to fall asleep. Plaintiff did not

ejaculate during any of their sexual activity that evening.

       23.     At no point during this evening did Defendant Giallonardo give Plaintiff any

indication that she did not consent or was unable to consent to their sexual activity. To the

contrary, Defendant Giallonardo’s behavior during this sexual encounter was completely

consistent with Plaintiff’s previous sexual consensual experiences with her.

       24.     After waking up in Plaintiff’s bed the following morning, Defendant Giallonardo

again climbed on top of Plaintiff and tried to have sex with him. Again, Plaintiff did not ejaculate.

       25.     Plaintiff then made breakfast for Defendant Giallonardo in his apartment and drove

her home where, at her request, he waited for her to change her clothes and then drove her to work.

Sometime that morning, they made plans to get together later that day, but those plans were later

cancelled.

       26.     Plaintiff and Defendant Giallonardo had no further contact after the morning of

October 29, 2017.


Defendant Giallonardo Files A False Complaint Against Plaintiff

       27.     On August 8, 2018, Defendant Giallonardo submitted a complaint to the Office of

Student Conduct (“OSC”) alleging for the first time that Plaintiff had sexually assaulted her ten

(10) months earlier after the Halloween party.

                                                  6
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 7 of 27 PageID #: 7



       28.     Between August 8-September 18, 2018, the OSC’s Investigator interviewed fifteen

(15) witnesses regarding Defendant Giallonardo’s allegations, including Defendant Giallonardo,

Plaintiff, nine (9) of Defendant Giallonardo’s sorority sisters, and others present at the party which

led to the alleged incident.

       29.     Defendant Giallonardo admitted during the investigation that she had no memory

of the incident at all, but since she had been intoxicated during the party, she assumed that Plaintiff

had forced her to submit to sexual activity without her consent.

       30.     Defendant Giallonardo further accused Plaintiff of “spiking” her drink with a

“roofie”-type drug which, she claimed, might account for her inability to recall the incident.

       31.     Prior to this complaint, Plaintiff had never had any prior claims of misconduct

against him.

       32.     The Investigator issued a Final Report (“the Report”) on October 19, 2018 which

concluded that the following material facts were in dispute: (1) whether Plaintiff subjected

Defendant Giallonardo to sexual contact without her consent, (2) whether he “penetrated [her]

vagina with his penis by force,” (3) whether Defendant Giallonardo was “incapacitated” during

sexual activity, and (4) whether Plaintiff “knew or should have known that Defendant Giallonardo

was incapacitated.”


The Hearing

       33.     On November 1, 2018, a hearing was held before IU’s Sexual Misconduct Hearing

Panel, which consisted of two IU administrators and one instructor. Defendant Giallonardo and

Plaintiff appeared in person; ten other witnesses testified by telephone. The statements of the

remaining witnesses who were unable to be reached by telephone were contained in the Report

which was part of the record.


                                                  7
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 8 of 27 PageID #: 8



       34.     While Plaintiff was permitted to have a “representative” present during the hearing

by Skype, this representative was not permitted to speak or participate in any way during the

hearing.   As a result, Plaintiff, an unsophisticated 21-year old with no legal training, was

effectively forced to represent himself throughout the hearing.

       35.     Neither Plaintiff nor his representative was permitted to cross-examine Defendant

Giallonardo or any other witnesses during the hearing.

       36.     Prior to the hearing and in accordance with IU’s “Procedures for a Sexual

Misconduct Hearing” which permit each party to “submit questions to the Chair to be asked of the

other party,” Plaintiff submitted 29 questions for the panel to ask Defendant Giallonardo.

Plaintiff’s proposed questions were intended to probe Defendant Giallonardo’s sexual history with

Plaintiff, her conduct both on the night of and morning after the incident that indicated her consent,

and her capacity to consent. However, the panel failed to ask most of Plaintiff’s proposed

questions, and modified the questions that they did ask.

IU’s Erroneous Decisions Against Plaintiff

       37.     On November 13, 2018, the Panel issued its decision finding that “the

preponderance was not met that Plaintiff used force during sexual contact or sexual penetration.”

However, it concluded that Plaintiff had violated the University’s Sexual Misconduct Policy

because he “knew or reasonably should have known Defendant Giallonardo was incapacitated”

during sexual activity.

       38.     Based on this erroneous conclusion, the Panel ordered that Plaintiff be suspended

from the University for two (2) years, prohibiting him from participating in all aspects of

University life, and barring him from the University grounds. The suspension was recorded on

Plaintiff’s academic transcript throughout the term of the suspension, which effectively prevents


                                                  8
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 9 of 27 PageID #: 9



him from transferring to another college to complete his education. Reinstatement after two years

is not guaranteed. Plaintiff was forced to immediately leave campus right before final exams.

       40.      IU’s Sexual Misconduct Policy requires that a finding of a policy violation must

be supported by “a preponderance of the evidence.” This standard is defined in the Policy to mean

that “it is more likely than not that the Plaintiff has committed one or more acts of sexual

misconduct.”

       41.      IU’s decision to suspend Plaintiff for sexual assault was not based on a

preponderance of the evidence. To the contrary, it was completely unsubstantiated, and mostly

contradicted by the record evidence which cast articulable doubt on the accuracy of the hearing’s

outcome. IU reached this erroneous outcome by:

               a.     accepting Defendant Giallonardo’s unilateral version of events, despite her

                      admission that she had no memory of the incident, and a lack of any

                      evidence to corroborate her story, despite the testimony of over a dozen

                      witnesses, including multiple sorority sisters and “close friends;”

               b.     concluding that Defendant Giallonardo was “incapacitated due to alcohol

                      and marijuana use,” despite overwhelming evidence to the contrary,

                      including Defendant Giallonardo’s own statements during the investigation

                      and hearing that:

                      •        she was definitely “not stoned to the point of disorientation;”

                      •        the effects of the pre-game pot use had “worn off” by the party

                               and she did not smoke any more pot after the pre-game;

                      •        she had a “pretty high tolerance” for marijuana;




                                                9
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 10 of 27 PageID #: 10



                  •        she could not recall whether she had taken Adderall that day, and

                           that, even if she had, she took a very low “extended release” dose

                           in the morning which did not have any increased effect with

                           alcohol or marijuana;

                  •        she had only one vodka shot at the pre-game party several hours

                           before the sexual encounter and only one cup of wine (a Solo cup

                           “filled a little over half”) at the Halloween party, which was less

                           than the 2-3 glasses of wine she typically drank at parties.

            c.    ignoring the statements of witnesses who corroborated that Defendant

                  Giallonardo was only minimally intoxicated on the night of the alleged

                  incident -- not “incapacitated” as the Panel found -- including statements

                  that:

                  •       Defendant Giallonardo explicitly told a friend who attended the

                          party with her that she had not drunk “a lot of alcohol” that night;

                  •       according to another eyewitness at the party who had “a lot” of

                          experience drinking with Defendant Giallonardo, she appeared less

                          intoxicated on the night in question than on previous occasions;

                  •       Defendant Giallonardo told her boyfriend at the time of the

                          complaint that she only “had one or two drinks” on the night of the

                          incident and “didn’t feel like she was super drunk.”

            d.    concluding that Defendant Giallonardo “lost consciousness” on the night in

                  question, despite any supporting evidence whatsoever, and all evidence to

                  the contrary, including:



                                             10
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 11 of 27 PageID #: 11



                  •      Defendant Giallonardo’s own admission that she not experience any

                         of the symptoms that night that she typically experiences with near

                         or actual “blacking out,” such as slurring her words, inability to

                         stand straight, poor hand-eye coordination, or poor vision;

                  •      the testimony of more than a dozen “sober monitors,” fellow

                         students from the hosting sorority and fraternity whose primary job

                         was to look out for signs of intoxication at the party, that Defendant

                         Giallonardo did not show any signs of “visible impairment” at the

                         party;

                  •      Defendant Giallonardo’s active participation in the sexual act – sitting

                         upright on top of Plaintiff and loudly vocalizing -- which Defendant

                         Giallonardo admitted in the hearing was “possible” and which would

                         have been physically impossible if she had actually “lost

                         consciousness.”

            e.    making the unfounded leap that Defendant Giallonardo’s failure to recall

                  the incident was evidence that she must have experienced a “loss of

                  consciousness,” despite Defendant Giallonardo’s history of failed memory

                  after drinking without being unconscious, including:

                  •      her admission that “there have been times where she has been

                         drinking and loses some memory of the night;”

                  •      the statements of her friends that Defendant Giallonardo had told

                         them “it wasn’t unusual for her to not be able to recall what happens

                         when she is drinking.”



                                           11
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 12 of 27 PageID #: 12



            f.    failing to consider significant lies told by Defendant Giallonardo during the

                  proceedings, which the Panel acknowledged to be untrue, in assessing her

                  credibility, including:

                  •      her false statement that Plaintiff had “placed drugs in [her] drink or

                         otherwise made [her] unknowingly consume drugs;”

                  •      her statements during the investigation that bruises on her arms and

                         legs were inflicted by Plaintiff during the sexual encounter, only

                         recanting this claim later at the hearing.

            g.    concluding that Plaintiff “knew or reasonably should have known

                  [Defendant Giallonardo] was incapacitated” during their sexual encounter,

                  despite any supporting evidence, and all evidence to the contrary, including

                  Plaintiff’s testimony that:

                  •      Defendant Giallonardo’s behavior on the night in question was no

                         different than on numerous prior occasions when they had had

                         drunken, but consensual, sex;

                  •      Defendant Giallonardo actively, and with full consciousness,

                         participated in the sex act, as evidenced by her positioning herself

                         on top of him and her vocalization for him to “fuck” her;

                  •      Defendant Giallonardo definitely did not seem to be “one drink

                         away from blacking out” at any point in the evening, as the Panel

                         appears to have concluded;

                  •      the morning after the alleged incident, Defendant Giallonardo

                         initiated sex by climbing on top of him again;



                                            12
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 13 of 27 PageID #: 13



                  •       Defendant Giallonardo voluntarily had breakfast with him in his

                          apartment and then asked him to wait while she changed clothes at

                          her apartment after he drove her home, so that he could then drive

                          her to work;

                  •       Defendant Giallonardo made plans to see him later that day, less

                          than 12 hours after the alleged “assault.”

            h.    failing to consider relevant aspects of the parties’ undisputed “history of

                  drunkenly hooking up” for several months before the alleged incident,

                  including:

                  •       undisputed evidence that all of their previous sexual encounters had

                          been consensual, even when Defendant Giallonardo was drunk,

                  •       undisputed evidence that, whenever Defendant Giallonardo had

                          indicated in prior encounters that she did not want to have sex,

                          Plaintiff had always respected her wishes;

                  •       undisputed evidence that Plaintiff had refrained from having sex

                          with Defendant Giallonardo in the past, even when she had asked

                          him to “fuck the shit out of [her],” when he thought she seemed too

                          drunk.

            i.    completely disregarding evidence of Defendant Giallonardo’s obvious

                  expressions of interest in Plaintiff on the night in question, according to the

                  unrefuted observations of numerous eyewitnesses, including Defendant

                  Giallonardo’s best friend who was with her throughout the party, that:




                                            13
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 14 of 27 PageID #: 14



                  •      “it seemed like [Defendant Giallonardo] wanted to be with

                         [Plaintiff]”;

                  •      she “had her arm wrapped around [his] waist”;

                  •      she seemed “very willing to talk to” him;

                  •      they kept “finding their way to each other throughout the party” at

                         least 5-6 times;

                  •      she asked him to “stay here and talk to [her]” when he tried to walk

                         away;

                  •      she forcibly resisted her friend’s efforts to stop her from “intimately

                         dancing” with him;

                  •      she was “all over him” when they stepped outside the party,

                         including rubbing his groin and penis.

            j.    assuming that Plaintiff was “the individual initiating sexual activity,” as

                  required for a violation of the Sexual Misconduct Policy;

            k.    assuming that Plaintiff himself had sufficient capacity to assess Defendant

                  Giallonardo’s mental state, given his own level of intoxication during their

                  sexual encounter;

            l.    misconstruing the record evidence and placing undue reliance on whether

                  Plaintiff provided Defendant Giallonardo with an alcoholic beverage at the

                  party, a point made no fewer than five (5) times in the Decision as one of the

                  explicit bases for the decision, despite contrary evidence, including:

                  •      Defendant Giallonardo’s hearing testimony that “she only

                         remembers that she got herself one drink from the bar;”



                                            14
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 15 of 27 PageID #: 15



                        •       Defendant Giallonardo’s hearing testimony, in response to repeated

                                questions on this topic, that she had “zero recollection” of Plaintiff

                                getting her a drink;

                        •       the fact that, even if Plaintiff had gotten Defendant Giallonardo one

                                drink – which, by all accounts, would have been nothing more than

                                half a cup of wine – this additional alcohol would hardly have been

                                enough to render her “incapacitated” or make Plaintiff believe that

                                she was.

        42.      Plaintiff timely appealed the Panel’s Decision to the Director of the Office of

 Student Conduct, but his appeal was denied on December 14, 2018, thereby exhausting all of his

 options for administrative review.

 Pressure on IU to Respond More Vigorously to Sexual Misconduct Complaints By Females

        43.      As a federally-funded university, IU is forced to follow the guidelines and rules

  promulgated by the United States Department of Education (“Department”) or risk losing

  millions of dollars in federal funds.

        44.      On April 11, 2011, the Department sent a “Dear Colleague” letter to universities

 receiving federal funds mandating steps universities needed to take in order to comply with Title

 IX (the “2011 Letter”). Universities that failed to follow the mandates of the 2011 Letter risked

 losing millions of dollars in federal funding.

        45.      According to the 2011 Letter, the mandates were designed to remedy the problem

 of women being the victims of sexual assault or attempted sexual assault and, in particular, being

 victims when they are incapacitated by alcohol.




                                                   15
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 16 of 27 PageID #: 16



        46.       These mandates made it more difficult for male students to defend themselves

 from allegations of sexual misconduct by lowering the burden of proof against those accused, and

 denying the accused’s right to cross exam the alleged victim or witnesses.

        47.       On April 29, 2014, the Department issued guidance to universities that receive

 federal assistance. (the “2014 Guidance”). As with the 2011 Letter, the 2014 Guidance expressed

 a strong bias in favor of protecting the rights of the complainant, regardless of an accused’s rights

 to due process. To that end, it provides: “Of course, a school should ensure that steps to accord

 any due process rights do not restrict or unnecessarily delay the protection by Title IX to the

 complainant.”

        48.       The 2014 Guidance informed universities that they did not have to allow the

 accused to cross-examine the complainant or witnesses; in fact, the complainant did not even have

 to attend a disciplinary hearing. A school’s decision to provide an accused more due process rights

 would be treated by the Department as evidence of a “hostile environment.”

        49.       On May 1, 2014, the Department identified IU as one of several higher education

 institutions under investigation for possible Title IX violations over its handling of sexual violence

 and harassment complaints. https://www.ed.gov/news/press-releases/us-department-education-

 releases-list-higher-education-institutions-open-title-ix-sexual-violence-investigations

        51.       Between June 2015-September 2016, IU was the subject of four separate

 investigations based on complaints filed by female students that their sexual assault complaints

 had been mishandled.

        52.       On September 22, 2017, the Department withdrew the 2011 Letter. In doing so,

 the Department acknowledged that, as a result of the 2011 Letter, “many schools have established

 procedures for resolving allegations that ‘lack the most basic elements of fairness and due process,


                                                  16
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 17 of 27 PageID #: 17



 are overwhelmingly stacked against the accused, and are in no way required by Title IX or

 regulation.’”

        53.       On November 16, 2018, three days after the Panel’s decision in this case, the

 Department formally proposed new regulations designed to create a more just process for campus

 tribunals to adjudicate sexual misconduct allegations. The new regulations will permit the accused

 to have a lawyer present in the disciplinary hearing who can cross-examine witnesses, including

 the complainant.

        54.       As of the date of Plaintiff’s suspension, IU had not yet amended the due process

 provisions of its Sexual Misconduct Policy that were adopted in the wake of the 2011 Letter and

 2014 Guidance and which the Department has since recognized to have “led to the deprivation of

 rights for many students.”

        55.       In late Fall 2017, after revelations of widespread sexual abuse of women by high-

 profile male figures, including Hollywood producer Harvey Weinstein and a parade of others, a

 national backlash, eventually known as the “#MeToo movement,” erupted against organizations

 for failing to aggressively punish males accused of sexual assault.

        56.       In the wake of the #MeToo movement, educational institutions such as IU have

 been under intense scrutiny and pressure to aggressively pursue claims of sexual assault by female

 students. This societal pressure has resulted in overly zealous prosecutions of male students

 accused of sexually assaulting female students, and a willingness to rush to judgments against such

 male students without a careful consideration of the evidence.

                                             COUNT I
                                    VIOLATION OF TITLE IX
                                    (Against Indiana University)

        57.      Plaintiff realleges paragraphs 1-56 as if fully set forth herein.


                                                   17
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 18 of 27 PageID #: 18



         58.      Title IX prohibits universities that receive federal financial assistance from

 discriminating against students on the basis of sex, and provides a private right of action for

 students to seek redress for violations of the Act. 20 U.S.C. §1681(a).

         59.      IU receives federal financial assistance and is subject to Title IX.

         60.      In the past several years, IU has been under increasing pressure to aggressively

 pursue claims of sexual assault by female students against male students. IU succumbed to these

 pressures and violated Title IX by suspending Plaintiff based on an erroneous, arbitrary, and

 capricious decision with a discriminatory intent to favor the female student, Defendant

 Giallonardo, over the male student, Plaintiff.

         61.      This bias is illustrated by the following:

                  a.       On information and belief, in the year preceding Plaintiff’s suspension (July

                           1, 2017-December 10, 2018), more than 50% of male students accused of

                           sexual assault at IU were ordered to attend a hearing after being

                           investigated, while not a single one of the accused female students

                           proceeded to a hearing after investigation. Doe v. Indiana Univ., 2019 WL

                           341760 (S.D. Ind. 2019);

                  b.       This gender bias is present not only when male students are the accused, but

                           also when female students are the alleged victims. For example, only 12%

                           of IU’s male students who had been investigated for alleged sexual assault

                           against female students were exonerated,1 while 100% of students accused

                           of sexually assaulting male students were exonerated. Id.;




 1
   This includes complaints made by females against males, as well as males against males. There were no recorded
 instances of female-on-female assaults.

                                                        18
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 19 of 27 PageID #: 19



                c.      IU unilaterally blamed Plaintiff for non-consensual sex and considered only

                        Defendant Giallonardo’s capacity to consent, without any consideration of

                        whether he was too “incapacitated” as a result of his undisputed intoxicated

                        state to consent to the same sex act.

        62.     As a direct and proximate result of IU’s violation of his Title IX rights, Plaintiff

 was erroneously found to have violated IU’s Sexual Misconduct Policy, suspended from IU, and

 suffered extreme emotional distress.

                                        COUNT II
                                     42 U.S.C. §1983
                         VIOLATION OF DUE PROCESS UNDER
                      THE FIFTH AND FOURTEENTH AMENDMENTS
                               (Against Indiana University)

        63.      Plaintiff realleges paragraphs 1-62 as if fully set forth herein.

        64.     The Fifth and Fourteenth Amendments to the United States Constitution prohibit

 the deprivation of an individual’s “liberty or property without due process of law."

        65.     Courts have repeatedly and recently recognized that “[s]uspension [from a

 university] ‘clearly implicates’ a protected property interest, and allegations of sexual assault may

 ‘impugn [a student’s] reputation and integrity, thus implicating a protected liberty interest.’” Doe

 v. Cummins, 662 Fed.Appx. 437, 445 (6th Cir. 2016). See also Doe v. Baum, 903 F.3d 575 (6th

 Cir. 2018); Doe v. Miami University, 882 F.3d 579 (6th Cir. 2018); Doe v. University of Cincinnati,

 872 F.3d 393, 399 (6th Cir. 2017); Norris v. University of Colorado, Boulder, 2019 WL 764568

 (D. Colo. 2019); Doe v University of Mississippi, 2019 WL 238098 (S.D. Miss. 2019); Doe v

 Pennsylvania State University, 336 F.Supp.3d 441 (M.D. Pa. 2018).

        66.     As a student of a public state university that receives federal funding, Plaintiff was

 entitled to the due process protections of the Fifth and Fourteenth Amendments. 42 U.S.C. § 1983.



                                                  19
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 20 of 27 PageID #: 20



        67.     IU violated Plaintiff’s due process protections by:

                a.     denying him any meaningful opportunity to cross-examine his accuser, both

                       by its refusal to allow him or his representative to cross-examine Defendant

                       Giallonardo and by the Panel’s refusal to ask her the questions submitted by

                       him;

                b.     failing to apply the required “preponderance of the evidence standard (more

                       likely than not)”;

                c.     reaching an arbitrary, capricious and clearly erroneous decision that was not

                       supported by the record evidence, as described above in paragraph 41.

        68.      As a direct and proximate result of the deprivation of his Fifth and Fourteenth

 Amendment rights to due process, Plaintiff was erroneously found to have violated IU’s Sexual

 Misconduct Policy, suspended from IU, and suffered extreme emotional distress.


                                           COUNT III
                                    BREACH OF CONTRACT
                                   (Against Indiana University)
        69.     Plaintiff realleges paragraphs 1-68 as if fully set forth herein.

        70.     When IU enrolled Plaintiff in the university and Plaintiff paid his tuition and

 accepted his enrollment, IU and Plaintiff entered into a valid and binding contract.

        71.     The terms of the contract between IU and Plaintiff are reflected in IU’s Code of

 Student Rights, Responsibilities, and Conduct (“Code of Student Rights”); its Non-

 Discrimination/Equal Opportunity/Affirmative Action Policy (Non-Discrimination Policy”); and

 its Sexual Misconduct Policy, as well as other catalogs and bulletins issued by IU.

        72.     The Code of Student Rights and the Non-Discrimination Policy explicitly protect

 students from discrimination on the basis of sex. Those policies state:


                                                  20
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 21 of 27 PageID #: 21



                a.      “Students have the right to study, work, and interact in an environment that

                        is free from discrimination in violation of law or university policy by any

                        member of the university community;”

                b.      “As required by Title IX of the Education Amendments of 1972, Indiana

                        University does not discriminate on the basis of sex in its educational

                        programs and activities.”

        73.     The Sexual Misconduct Policy provides additional protections for students, both in

 its definition of a policy violation and the procedural safeguards required to be provided for

 students accused of a violation. The following definitions apply:

                a.      “Sexual Assault” is defined as “Non-consensual Sexual Penetration” or

                        other “Non-consensual Sexual Contact;”

                b.      “Consent” is defined as “an agreement expressed through affirmative,

                        voluntary words or actions, and mutually understandable to all parties

                        involved, to engage in a specific sexual act at a specific time;”

                c.      “Consent cannot be given by someone who is incapacitated,” which is

                        defined as the inability to “understand the facts, nature, extent, or

                        implications of the situation due to drugs, alcohol, a mental disability, being

                        asleep or unconscious, or based on their age (pursuant to Indiana law);”

                d.      Cases involving a claim of “incapacitation” require sufficient proof that “the

                        individual initiating sexual activity knew or should have known of the other

                        person’s incapacitation.”

        74.     In determining whether a violation has occurred, the Sexual Misconduct Policy

 allows that “prior sexual history between the parties . . . may be relevant to the issue of consent.”



                                                    21
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 22 of 27 PageID #: 22



        75.     A student accused of sexual misconduct is guaranteed the following rights:

                a.      “a fair and impartial investigation and resolution for complaints;”

                b.      “the use of the preponderance of the evidence standard (more likely than

                        not) in determining responsibility;” and

                c.      “corrective action [where appropriate], . . . [that] will depend on the

                        circumstances of the particular case.”

        76.      Additionally, the duty of good faith and fair dealing implied in every Indiana

 contract prohibits IU from acting in an arbitrary or capricious manner in disciplining Plaintiff and

 requires that disciplinary hearings be conducted with basic fairness.

        77.      Plaintiff fulfilled his contractual obligations to IU by paying his tuition and

 abiding by the policies set forth in the IU Code of Student Rights.

        78.      IU breached its contractual obligations to Plaintiff by subjecting him to a

 disciplinary process that violated the express terms of the foregoing policies, including by:

                a.      failing to provide Plaintiff with “a fair and impartial investigation and

                        resolution for” the complaint against him;

                b.      failing to apply the required “preponderance of the evidence standard (more

                        likely than not)”;

                c.      failing to properly apply the definitions of “consent” and “incapacitation;”

                d.      failing to consider whether Plaintiff was “incapacitated” due to his level of

                        intoxication and therefore, able to consent to the sexual encounter or to

                        recognize if Defendant Giallanardo was incapacitated;




                                                 22
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 23 of 27 PageID #: 23



                e.     failing to consider the “prior sexual history between the parties,” especially

                       in light of its relevance to Plaintiff’s familiarity with Defendant

                       Giallonardo’s behavior during drunken sex;

                f.     imposing a draconian sanction against Plaintiff that completely ignores “the

                       circumstances of the particular case.”

        79.     As a direct and proximate result of IU’s breach of contract, Plaintiff was

 erroneously found to have violated IU’s Sexual Misconduct Policy, suspended from IU, and

 suffered extreme emotional distress.

                                           COUNT IV
                                   PROMISSORY ESTOPPEL
                                   (Against Indiana University)

        80.      Plaintiff realleges paragraphs 1-79 and as if fully set forth herein.

        81.      Plaintiff brings this claim in the alternative to Count III in the event the Court

 determines that a contract was not made between Plaintiff and IU.

        82.     IU made an unambiguous promise to Plaintiff that, in the event of a sexual

 misconduct complaint against him, it would provide him with “a fair and impartial investigation

 and resolution” process, apply a “preponderance of the evidence standard,” and only impose

 discipline if appropriate under “the circumstances of the particular case.” IU also made an

 unambiguous promise not to discriminate against Plaintiff on the basis of his sex.

        83.      Plaintiff relied on IU’s unambiguous promises by participating in IU’s

 disciplinary proceedings in accordance with the Sexual Misconduct Policy.

        84.      Plaintiff’s reliance was expected and foreseeable by IU.

        85.      Plaintiff relied upon IU’s promise to his detriment in that the disciplinary process

 that he participated in turned out to be neither fair nor impartial, failed to apply the required


                                                  23
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 24 of 27 PageID #: 24



 “preponderance of the evidence standard,” and imposed a disciplinary sanction that was

 completely unwarranted by the evidence.

        86.       As a direct and proximate result of Plaintiff’s foreseeable reliance on IU’s promises,

 Plaintiff was erroneously found to have violated IU’s Sexual Misconduct Policy, suspended from

 IU, and suffered extreme emotional distress.

                                             COUNT V
                                           DEFAMATION
                                   (Against Defendant Giallonardo)

        87.       Plaintiff realleges paragraphs 1-86 as if fully set forth herein.

        88.       Defendant Giallonardo made numerous false statements about Plaintiff, including

 the following:

                  a.      that Plaintiff sexual assaulted her after the October 28, 2017 Halloween

                          party while she was unconscious;

                  b.      that Plaintiff gave her a “roofie” (a date rape drug) on the night of the

                          incident;

                  c.       that Plaintiff inflicted “bruises” to her body during this sexual encounter.

        89.        Plaintiff made unprivileged publications of these statements by telling her friends,

 her boyfriend, IU’s investigator, the Panel, and others present during the hearing.

        90.       These false statements are defamatory per se because they impute that Plaintiff has

 committed crimes.

        91.        These false and defamatory statements were made with actual malice, knowledge

 of or reckless disregard for the falsity of her statements, and with the intent to injure Plaintiff and

 constitute willful and wanton conduct.




                                                    24
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 25 of 27 PageID #: 25



        92.     As a direct and proximate result of Defendant Giallonardo’s defamatory statements,

 Plaintiff was erroneously found to have violated IU’s Sexual Misconduct Policy, suspended from

 IU, and suffered extreme emotional distress.

                                           COUNT VI
                                         FALSE LIGHT
                                 (Against Defendant Giallonardo)
        93.       Plaintiff realleges paragraphs 1-92 as if fully set forth herein.

        94.       As set forth in paragraphs 88-89, Defendant Giallonardo made numerous false

 statements about Plaintiff to her friends, her boyfriend, IU’s investigator, the Panel, and others

 present during the hearing.

        95.       As a result of Defendant Giallonardo’s false statements, Plaintiff was placed in a

 false light as a sexual predator and physical abuser.

        96.       The false light in which Defendant Giallonardo placed Plaintiff would be highly

 offensive to a reasonable person.

        97.       These false and defamatory statements were made with actual malice, knowledge

 of or reckless disregard for the falsity of the statements, and with the intent to injure Plaintiff and

 constitute willful and wanton conduct.

        98.     As a direct and proximate result of Defendant Giallonardo’s false statements,

 Plaintiff was erroneously found to have violated IU’s Sexual Misconduct Policy, suspended from

 IU, and suffered extreme emotional distress.

                                        COUNT VII
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                   (Against Defendants Indiana University and Giallonardo)

        99.       Plaintiff realleges paragraphs 1-98 as if fully set forth herein.

        100.      IU’s conduct in wrongfully determining that Plaintiff committed sexual assault

 and suspending him from IU was extreme and outrageous.
                                                   25
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 26 of 27 PageID #: 26



         101.     Plaintiff described at the hearing how difficult it had been for him, as an

 introverted transfer student, to fit in at a big university like IU. He also testified that he has suffered

 from clinical depression for many years and that Defendant Giallonardo’s complaint had taken

 him “to new lows.”

         102.     Accordingly, IU intended to inflict severe emotional distress on Plaintiff or, at the

 very least, knew there was a high probability that its conduct would inflict such severe emotional

 distress.

         103.     IU’s actions have, in fact, caused Plaintiff to suffer severe emotional distress in

 the form of extreme anxiety, depression, and suicidal ideation.

         104.     Defendant Giallonardo’s conduct in falsely claiming that Plaintiff gave her a date

 rape drug, sexually assaulted her, and inflicted “bruises” on her arms and legs during sex, was

 extreme and outrageous.

         105.     Defendant Giallonardo was aware prior to making her sexual assault complaint

 that Plaintiff was a transfer student who was struggling to fit in at IU and that he suffered from

 depression.

         106.     Defendant Giallonardo intended to inflict severe emotional distress on Plaintiff or,

 at the very least, knew there was a high probability that her conduct would inflict such severe

 emotional distress.

         107.    Defendant Giallonardo’s actions have, in fact, caused Plaintiff to suffer severe

 emotional distress in the form of extreme anxiety, depression, and suicidal ideation.


                                            PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully request that this Court grant the following relief:




                                                     26
Case 1:19-cv-01866-JPH-DLP Document 1 Filed 05/08/19 Page 27 of 27 PageID #: 27



        A.      Enter a judgment that the conduct of the Defendants alleged herein violates the laws

 of the United States and the State of Indiana;

        B.      Award Plaintiff all damages to which he is entitled as a result of Defendants’

 unlawful conduct;

        C.      Award Plaintiff the costs of this action, including reasonable attorneys’ fees, and

 any other costs reasonably incurred in the litigation of this matter;

        D.      Award Plaintiff such other and further equitable, injunctive and legal relief as this

 Court finds necessary and proper.

                                              JURY DEMAND

        Plaintiff demands a trial by jury on all issues of fact and damages triable in this action.

                                                  Respectfully submitted,

                                                  TIMOTHY SCHERMAN


                                                  By     s/Brenda H. Feis
                                                         One of His Attorneys
 Brenda H. Feis
 Elisabeth G. Mustoe
 FEIS GOLDY LLC
 161 N. Clark Street
 Suite 1600
 Chicago, IL 60601
 (312) 523-2200
 bfeis@feisgoldy.com
 emustoe@feisgoldy.com

 May 8, 2019




                                                    27
